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                  EXHIBIT O Part 2
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     (

 1               $u"bje9t to, and without waiving t~e above objections, Defendant responds to this
 2"      ~equestasJQllows;       DefenoantJacks suffieientinformation to admit or deny th~ matter
 3       stated
            -  .
                 in the request based on the objections noted above. While the credits received
                                                                    . .                     ~




 4       by prisoners who are diagnosed as totally disabled under Title 15 of the California Code

 5       . of Regulations section 3044(b )(2)(E) do ,,not have a direct impact on the criminal justice
 6       system, they do result 1n the releas~ of inmates before they have served the entir,ety of

 7       their sentenced time, and Defendant does not know the full extent of the impact on the

. 8 . criminal justige system.
 9       REQUESiFOR-ADMISSIONNO. 33: ~   ..   ..   -."   ."j- - .




10               Admitthat.prisoners who perform heroic acts in a file-threatening situation or who

11       provide exceptional assistance in maintaining the safety and securjty of a prison are

12·      eligible for a grant of up.to twelve months oredi! under Penal Code section 2935.
13       RESPONSE TO REQUEST
                      ,      FOR ADMISSI.ON NO.3a,:
                             "




14               Defendant objects to this request on the grounds that it seeks information that is
15       not relevant to any party's claim or defense at issue in this proceeding. Defendant
16       further objects to this request on the grounds that it requires a response that is more

17       properly sought from parties ·or 'persons other than this responding Defendant.

18       Additionally, assuming that the request regards section 2935 of the California Penal

19       Code, this request misstates the referenced section. Defendant further objects to this
20       request on the grounds that it seeks information proteoted from disclosure by the

21       attqrney-client privilege, deliberative process privilege, and official information privilege.

22       Defendant further objects to this request on the grounds that it assumes information

23       beyond the knowledge of this responding Defendant and seeks a legal conclusion.

24       Defendant further objects to this request on the grounds that it requires this responding

25        De.fendant to assume an incomplete hypothetical. Defendant further objects to this
26        request on the (grounds that it is burdensome and oppressive in that in order to

27        appropriately respond, Defendant would have to review thousands of records of
28        prisoners and/or parolees granted these credits. Defendant further objects to this
                                                   - 33-
         DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1· reque.sf.on the grounds that it isoverbro~d, unduly Dl,lrdensome, vague, and ambiguous

 2   as to time in that itflilils to specify any period Qftime,and Js therefore not reasonably

 3   calculated to lead to the discovery ·of admissible evidence.

 4          Subject to, and without waiving the above objections, Defendant responds to this

 5   request as follqws: Defendant admits upon information and belief that under California

 6   Penal Code section 2935, the Director Of Corrections may grant up to 12 additional

 7   months of reduction of the sentence to a prisoner who has performed a heroic act in a

 8   life-threatening situation, or who has provided exceptional assistance in maintaining the

 9   safety and security ofa prison.

10   REQUEST FORADMISSION NO. 34:

11          Admit that (k~ditsfor prisoners who perform heroic acts in a life-threatening-

12   situation or who provide exceptional assistance in maintaining the safetyand security of

13   a prison do not cau~~ anADVE~.SE IMPACT ON PUBLIC SAFETY in California.

14   RESPONSE TO REQUEST- FOR .ADMISSION NO. 34:

15          Defendant objects to this request on the grounds that it seeks information that is

16   not relevant to any party's claim or defense at issue in this proceeding. Defendant

17   further objects to this request on the grounds that it requires a response that is more

18   properly sought from parties or persons other than this responding Defendant.

19   Defendant further objects to this request on the grounds that it is vague and ambiguous

20   as to the term "ADVERSE IMPACT ON PUBLIC SAFETY." Additionally, assuming that

21   the request regards section 2935 of the California Penal Code, this request misstates.

22   the referenced section. Defendant further objects to this request on the grounds that it

23   .seeks information protected from disclosure by the attorney-client privilege, deliberative

24   process privilege, and official information privilege. Defendant further objects to this

25   request on the grounds that it assumes information beyond the knowledge o.f this

26   responding Defendant and seeks a legal conclusion. Defendant further objects to this

27   request on the grounds that it requires this responding Defendant to assume an

28   incomplete hypothetical. Defendant further objects to this request on the grounds that it
                                             - 34-
     DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1   is burdensome and oppressive in that in order to.appropriately respond, Defendant

 2   would have to review thousands of records of prisoners and/or parolees. granted these

 3   credits.   [Defendant further objects to this request on the grounds that it is overbroad,

 4   unduly burdensome, vague, and ambiguous as to time in that it fails to specify any

 5   period of time, and is therefore not reasonably calculated to lead to the discovery of
 "




 6   admissible evidence.

 7          Subject to, and without waiving the above objections, Defendant responds to this

 8   request as follows: Defendant lacks sufficient information to admit or deny the matter

 9   stated in the request basedon'the objections noted above. While the credits received

10   by prisoners who are diagnosed as totally disabled under California Penal Code section

11   2935 do not have a direct impact on public safety, they do result in the release of

12   inmate,s before they have served the entirety of their sentenced time, and Defendant

13   does not know tne full extent of the impact on public safety.

14   REQUEST FOR ADMISSION NO.
                           ,
                               35:

15          Admit that credits for prisoners who perform heroic acts in a life-threatening

16   situation or who provide exceptional assistance in maintaining the safety and security of

17   a prison do not cause an ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM in

18   California.

19   RESPONSE TO REQUEST FOR ADMISSION NO. 35:

20          Defendant objects to this request on the grounds that it seeks information that is

21   not relevant to any party's claim or defense at issue in this proceeding. Defendant

22   further objects to this request on the grounds that it requires a response that is more

23   properly sought from parties or persons other than this responding Defendant.

24   Defendant further objects to this request on the grounds that it is vague and ambiguous

25   as to the term "ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM."

26   Additionally, assuming that the request regards section 2935 of the California Penal

27   Code, this request misstates the referenced section. Defendant further objects to this

28   request on the grounds that it seeks information protected from disclosure by the
                                               - 35-
     DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1   attorney..client:pri\til~ge,deli/Jerative proces~privilege,
                         \   .                            ..  .  and official information privilege.
                                                                                                  .



 2   D.efendant further obj~ct~tothi~ req,uestQn.t~e,grQundsthat i.t assumeS info~l11ation
 3   beyond the knowledge of thi.s respoDding Defendant and seeks -a legal conClusion.

4-   Defendant further objects to this request on the grounds that.it requires this responding

 5   Defendant to assume a~ incomplete hypothetical. Defendant further objects to this
 6   request on the grounds that it is burdensome and oppressive in that in order to
 7   appropriately respond, Defendant would have to review thousands of records of

 8   prisoners and/or parolees grcmted these credits, Defendant further objects to this
 9   request on thegroulJds that it is overbroad, unduly burdensome, vague, and ambiguous
10   as to time in-that it fails to specify any period of time, and is therefore not reasonably

11   calculated to lead to the discovery of admissible evidence,
12          Subject to, and without waiving the (ibave objections, Defendant responds to this

13   request as follows;. Def~ndantlacks sufficient information to admit qr deny the matter
14   stated in the request based on the objections noted aQove. While the credits receive.d
15   by prisoners who are diagnosed as totally disabled under California Penal Code section

16   2935 do not have a direct impact on the criminal justice system, they do result in the

17   release of inmates before they have served the entirety of their sentenced time, and

18   Defendant does· not know the full extent of the impact on the criminal justice system,
19   REQUEST FOR ADMISSION NO. 36:

20          Admit that YOU have proposed no legislation to eliminate statutory credits for

21   prisoners during YOUR tenure as governor,
22   RESPONSE TO REQUEST FOR ADMISSION NO. 36:

23          Defendant objects to this request on the grol,.lnds that it seeks information that is

24   not relevant to any party's claim or defense at issue in this proceeding, Defendant

25   further objects to this request on the grounds that it requires a response that is more

26   proper!y sought from parties or persons other than this responding Defendant.
27   Defendant further objects to this request on the grounds that it is vague and ambiguous
28   as to the terms "eliminate," "statutory credits,"and "tenure as governor." Additionally,
                                                - 36-
     DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1   Defendant objects to this request on tMe- grounds that it is vague and ambiguous as to

 2. the terms "proposed
                     .-
                        QolegislaUon,"as
                         .       -:
                                  . -.
                                         ins th~properroJeof.theLegislatLlre,
                                         ~   .   '"   .  '.                   .and not

 3   Defendant, .to intro~t~celeQislation. Defendant further-objects to this request on the

 4   grounds that it s.eeks information protected from disclosure by the attorney-client

 5   privilege, deliberative process privilege,andofficial information privilege. Defendant

 6   further objects
       )         ". .
                      to this request on the grounds that it is overbroad, unduly burdensome,

 7   vague, andambig~ous as to time in that it fails to specify a specific period of time, and is

 8   therefore not reasonaply .calculated to. lead to the discovery of admissible evidence.

 9             Subject to, and without waiving the above objections, Defendant re~ponds to this

10   . request as 'follow~: Defendantac;:hnitsupon information and belief that he has proposed

11   no legislation to eliminate statutory cre~:lits for prisoners during Defendant's service as

12   Governor of the State of California.

13   REQUEST FORADMISSION NO. 37:

14         .   Admit that YOU have proposed no legislation to reduce statutory credits for

15   prisoners during YOUR tenure as governor.

16   RESPONSE TO REQUEST FOR ADMISSION NO. 37:

17             Defendant objects to this request on the grounds that it seeks information that is
                                                 /



18    not relevant to any p~rty's claim or defense at issue in this proceeding. Defendant

19' further objects to this request on the grounds that it requires a response that is more

20    properly sought from parties or persons other than this responding Defendant.

21    Defendant further objects to this request on the grounds that it is vague and ambiguous

22    as to the terms "reduce," "statutory credits," and "tenure as governor." Additionally,

23    Defendant objects to this request on the grounds that it is vague and ambiguous as to

24   the terms "proposed no legislation," as it is the proper role of the Legislature, and not

25    Defendant, to introduce legislation. Defendant further objects to this request on the

26    grounds that it seeks information protected from disclosure by the attorney-client

27    privilege, deliberative process privilege, and official information privilege. Defendant

28    further objects to this request on the grounds that it is overbroad, unduly burdensome,
                                                 - 37-
      DEFENDANT ARNOLD SCHWAR?ENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1.    vague,and ambiguous as to time' in that it fails to spe9ify a spepific period of time, and is
 2     therefore not reasonablycalcul(:ited lQlead to the discQvery of~dmissible evidence.
 3            Subject to, and without waiving the above objections, Defendant responds to this
                                                                                      .-
4     '. request as follows: Defendant admits upon information and belief that he has proposed
 5     no legislation to' reducestatl.Jtory credits for prisoners during Defendant's service as
 6     Governor of the Stc;lte of California.
 7     REQUEST FOR,,ADMISSI0N NO. 38:
 8            Admit that YOU have proposed no legislation to eliminate regulatory credits for
 9     prisoners during YOUR tenure as governor.
1ORESPONS,E.T:OREQl!J.E'SIFClRADMlS.SION· NO.. 38:

11            Defendalltobjects to this request on the grounds Jhat ,it seeks informGltion that is
12     not relevant to any party's claim or defense at issue ,.in this proceeding. Defendant
13     further objects to this request on the grounds that it requires a response that is more
14     properly sought from parties or persons other than this responding Defendant.
15     Defendarlt further objects to this request on the grounds that it is vague and ambiguous
16     as to the terms "eliminate," "regulatory credits," and "tenure as governor." Additionally,
17     Defendant objects to this request on the grounds that it is vague and ambiguous as to
18     the terms "proposed no legislation," as it is the proper role of the Legislature, and not
19     Defendant, to introduce legislation. Defendant further objects to this request on the
20     grounds that it seeks information protected from disclosure by the .attorney-client
21     privilege, deliberative process privilege, and official information prfvilege. Defendant
22     further objects to this request on the grounds that it is overbroad, unduly burdensome,
23     vague, and ambiguous as to time in that it fails to specify a specific period of time, and is
24     therefore not reasonably calculated to lead to the discovery of admissible evidence.
25            Subject to, and without waiving the above objections, Defendant responds to this
26     request as follows: Defendant admits upon information and belief that he has proposed
27     no legislation to eliminate regulatory credits for prisoners during Defendant's service as
28     Governor of the State of California.
                                                   - 38-
       DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    R8QUEST.FORAtlMUSSI0N:N,c;).39:
 2,         Admitlp.qt:Y0LJ,h~\f.e.iprQP·o.lSeg no legislation to reduce regulatory credits for

 3    prisoners,
           ,
                 during YOUR
                          ">
                             tenure .asgO'lernor.
                                     '  '.

 4    RESPO.NSETORS'QUESTFOR ADIVIISSIO'N.NO. 39:

 5           6~fe~ndantobje~tsto{hlsr~que;ton the grounds that it seeks. information that is
 6    not J~levant to any party's claim or defense at issue in this proceeding. Defendant

 7    further objects to this request on the grounds that it requires a response that is more

 8    properly sought from parties or persons other than this respqhding Defendant.
                                         ".    '                      I,   •




 9    Defendant further o~jecits
                           .
                                 to this request on th~
                                                      . grounds thft it is vflgue and ambiguous

10    as totheterms "reduce;" "regulatory credits;" and "te;:nure as governor." Additionally,

11    l?efendaT"lt objects to this request on ,the grounds that it is vague and ambiguous as to

12    the terms "proposed no 'egis'ation," as it is the proper role of the Legislature, and not .

13    Defendant, to introduce legislation. Defendant further objects to this request on the

14    grounds that it seeks information protected from disclosure by the attorney-client

15    privilege, deliberative process privilege, and official information privilege. Defendant

16    further objects to this request on the grounds that it is overbroad, unduly burdensome,

17. vague, and ambiguous aslo time in that it fails to specify a speCific period of time, and is

18    therefore not reasonably calculated to lead to the discovery of admissible evidence.

19           Subject to, and without waiving the above objections, Defendant responds to this

20    request as follows: Defendant admits upon information and belief that he has proposed

21    no legislation to reduce regulatory credits for prisoners during Defendant's service as

22    Governor of the State of California ..

23    REQUEST FOR ADMISSION NO. 40:

24           Admit that the document excerpt attached as Exhibit C is a true and correct copy

25    of YOUR September 23, 2008, Veto Message, as found on the Internet at
                                                             ..                .
26    http://www.ebudget.ca.gov/pdfIEnactedIBudgetSummary1FuIiBudgetSummary.pdf.at

27    pages 77-87 of the PDF.

28    III
                                                   - 39-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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  2,                 ct:i~tEmdal1t()~jectsto t~js request on tbe:g.ro.und that it seeks information that is

  3     not relevant to a claim or defense atis;sue in, this proceeding. Defendant further objects
  4     to this request on the grounds that it requires a response that is more properly sought

  5     from parties or persons other than this respond,ing Defendant.
  6          Supject to, and without waivingthe.above objections,Defendant responds to this

  7     request as follows: Defel1dant admits upon information and belief that Exhibit C is a

  8     copy of Defendant's September 23, 200~ objections, deletions, revisions, reductions,
  9     and sub~equent approval of Assembly Bill 88.
 10     REQUEst FOR,·ADM;I'SS'lmN;N0. 41:
                                                                  ,'. .
            t. _ '   .. '     .   :'".~'.   ."   .. ....   '", . ,\   .,...... -.... _ '   .'   .~.   -'.   '."   ",'~



                        . .                 .'~"           ..

 11                  Admit that YOl)Rdirection 'contained in the language quoted below from page 5

 12     of Exhibit C is intend~d to reduce adult inmate population levels:
 13                                              lamqirep!iAg the pecre~c;lry ()fth~ c;alifornia Department of
                                                 C9rrectiQn~~ndR~Habilitatipnto implement a Parole                                          i

 14                                              Decisj9n~fV1l!:\kirlg.lnstrumenJ{PDMl)thatprovid.es.gujdelines
                                                 011 hoW .tor~sPQrldtQte:Qbniqa.IJ~?atQleNiolatiqo~ b,a$ed pn the
 15                                              risk~to"redffend level of the' offender and the'se'riousness Of
                                                 the violC!tion.;I· belieVe th21trtl'le i4seol the PDMI':byparole
 16                                              agents·wilt.facilitatethe reil1t~gr21iti9ri into societydfJow-risk
                                                 p~rQl(9¢s ~yJ;>rovidil'lg oom.i11~riily-tJased sanqtions. and
 17                                              programs.gyp.rovidirigalterl:latj~~~ "to hJcarcer~tiQn for
                                                 paTdJ~~s who commitn'linortechnical parole violations, the
 18 .                                            Department will be able to reduce prison overcrpwding.
                                                 Consistent with this direction, I am reducing $22,000,000 from
 19                                              this item to reflectlower adult.inmate population levels.
 20      RESPONSE TO REQUEST FOR ADMISSION NO. 41:

 21                  Defendant objects to this request on the grounds that it seeks information that is
. 22    . not relevant to any party's claim or defense at issue in this proceeding. Defendant
 23      further objects to this request on the grounds that it requires a response that is more
 24      properly sought from parties or persons other than this responding Defendant.
 25      Defendant further objects to this request on the grounds that it is vague and ambiguous
. 26     as to the terms ""YOUR direction" and "intended to reduce adult inmate population
 27      levels." Defendant further objects to this request on the grounds that it seeks information
 28      protected from disclosure by the attorney-client privilege, deliberative process privilege,
                                                   - 40-
         DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    and 0fficialinformation privi/.~ge. Defendant further objects to this request on the

 2    ground~ tl1atit,is.compollnd .cQuldrequire multiple conflicting responses.
                                                                          (


 3           S4bJectto, and without waiving the above objections, Defendant responds to this

 4    request as folloWs: Defendant denies that directing the Secretary oHhe California

 5'   Department ofCorrections and Rehabilitation to implement a Parole Decision~Making

 6    Instrument is intended to reduce adult inmate population levels. The Parole Decision

 7    Making Instrument was develop~d to enable parole staff to uniformly determine,

.8    recommend, and irryp<?~e proportionate and consistent sanctions for parole violations
                                                                                                     /

 9    based upon the riskiof the inqividual offender, as well as the severity of the violation. It

10    is anticipated t~at the implementation of this instrument will also reduce the prison
                    . i

11    population; and therefore, the budget item was reduced.

12    REQUEST FOR AOMISSIONNO.42:

13           Admit that YOU;~ direction quoted above from Exhibit C il1.-REQUEST FOR

14    ADMISSION 41 was not intended to cause an ADVERSE IMPACT ON PUBLIC

15    SAFETY.
16    RESPONSE TO REQUEST FORADMISSION NO. 42:

17           Defendant objects to this request on the grounds that it seeks information that is

18    not relevant to any party's claim or defense at issue in this proceeding. Defendant

19    further objects to this request on the grounds that it requires a response that is more

20    properly sought from parties or persons other than this responding Defendant.

21    Defendant further objects to this request on the grounds that it is vague and ambiguous

22    as to the terms ""YOUR direction" and "ADVERSE IMPACT ON PUBLIC SAFETY."

23    Defendant further objects to this request on the grounds that it seeks information

24    protected from disclosure by the attorney-client privilege, d~liberative process privilege,

25    and official information privilege. Defendant further objects to this request on the

26    grounds that it is compound could require multiple conflicting responses. Defendant .

27    further objects to this request on the grounds that it assumes information beyond the

28    knowledge of this responding Defendant and seeks a legal conclusion. Defendant
                                              - 41 -
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1     furtMerQpjectstotMis requeston·thegrrounds that it requires this responding [)efendcmt

 2' to assUiTle,an incQmpl~te.h¥pothetic;al.
 3           Subject to, and without waiving the above objections, Defendant responds to this

 4     request as follows: Defendant admits upon information and belief that his direction to

, 5'   implement a Parole Decision-Making Instrument was not intended to cause an adverse

 6     impact on public safety inCalifomia.
 7     REQUEST ,FOR ADMISSION:NQ~43:
 8           Admit that YQUR direction quoted above from Exhibit Cin REQUEST FOR

 9, , ADMI'SSION 41'was not intended to cause an ADVERSE IMPACT ON THE CRIMINAL

10     JUSTiCE SYSTEM.
11     RESP,tDN:$E TO REQUEST FOR ADMISSION NO. 43:
               ;'                 ~.   ,            , \

                                            /

12            Defendant objects to this .request on the grounds that it seeks information that is
                                                ,

13     not relevant to any party's claim or defense at issue in this proceeding. Defendant

14     further objects to this request on the grounds that it requires a response that is more

15·    properly sought from parties or pers.ons other than this responding Defendant.

16     Defendant further objects!o this request on the grounds that ,it is vague and ambiguous

17     as to the terms ""YOUR direction" and "ADVERSE IMPACT ON THE CRIMINAL

18     JUSTICE SYSTEM." Defendant further objects to this request on the grounds that it

19     seeks information protected from disclosure by the attorney-client privilege, deliberative

20     process privilege, and official information privilege. Defendant further objects to this

21     request on the ground,s that it is compound could require multiple conflicting responses.

22     Defendant further objects to this request on the grounds that it assumes information

23     beyond the knowledge of this responding Defendant and seeks a legal conclusion.

24     Defendant further objects to this request on the grounds that it requires this responding

25     Defendant to assume an incomplete hypothetical.

26            Subject to, and without waiving the above objections, Defendant responds to this

27     request as follows: Defendant admits upon information and belief that his direction to

28     implement a Parole Decision-Making Instrument was not intended to cause an adverse
                                               - 42-
       DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1impactgl1cnrnil1?lljustice sys,tem in G.iitlifornia.
 2.
 3          . Admitttlatthestateofemergencyin the California prison system that you

 4    decl~red, pursuanttoyour October 4, 2006 overcrowding proclamation, is not over.

 5    RESPON.SE TOREQLlEST
            .   "".,'    . .
                     ,- .,
                             FORAD·I\IUSSION
                             .  .        "-"
                                             NO. 44:
                                               ~   :   .,



 6                   b~fendallf6bjects to this,req'uest On the grounds that It seeks information that is

 7    not relevant to any party's claimo~ defense at issue in this proceeding. Defendant

 8    furtherobJecf$: to this request o~· the grounds that it is vague and ambig/Jo'us as to the

 9    terms '''''overcro~;ding proclamation" and "is not over." Additionally, Defendant objects to

10    this request onth-e groundstbat itina¢curat~Iy suggests that the state of· emergency
11    prociamatiQniencompassesithe entire "California prison system," when only a limited

1'2   number of statepris0.ns are identified in the proclamation. Defendant further objects to

13    this request on the grounds that it seeks -information protected from disclosure by the
14    attorney-client privilege, deliberative process privilege, and official information privilege.

15    Defendant-~urther objects to this request on the grounds that it is compound could

16    require multiple conflicting responses. Defendant further objects to this request on the.

17    grounds that it assumes information beyond the knowledge of this responding Defendant

18    and seeks a legal conclusion.

19                   Subject to, and without waiving the above objections, Defendant responds to this

.20   request as follows: Defendant admits upon information and,belief that the state of

21    emergency in the California prison system is not over. There are conditions which exist

22    in the California prison system, including aging' infrastructure and. facilities,. inefficient

23    administrative processes, and fluctuating population needs, that responding Defendant

24    continues to address by use of the emergency proclamation dated October 4, 2006. The

25    emergency proclamation did not find, and Defendant does not admit, that the provision
26    of medical and mental health care to California prison inmates was or is negatively

27    impacted by the crowded conditi~ns.

28    /1/
                                                            - 43-
      DEFENDANT ARNOLD SCHWARZENEGGER'S-RESPONSE TO PLAINTIFF COLEMAN'S
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                           ,   '    '




 2;A<.i,f;niltl'lat,t~esu.p.stantiarri$kt().the.h~althandsafaty of staff and inmate,s ~in
 3    CDCRprisons cau.sedt:>y the severe over9rowdingin COeR prisons that you cited in
       •     '-' " .   ,           ' - " "        ~   I   '   .~_




 4    your october 4, 2Q06 overcrowding procl,amation is still present
 5    RESPO'NSE rO,REQUESTFORADMISsloNN0. ,45:

 6           Defend~ntObjects to this request on the' groynds th,at it seeks information that is
 7    not relevant to any party's claim or d~feln~e at issue in this proceeding. Defendant

 8furtherobjec.ts tothls .request on the grounds tHat it is vague and ambiguous as to tbe
             ,                                ,




 9    terms "in COeR prisons,,,,u'overcrowdillg proGlamation" and "is still present." Defendant
                                                                                           /



10    furtberobJeCts to this request on the' ground§ that it seeks information protectedJrom
11 . dis-closureby tH~!attomeY~dlient privilege,:cJeHiberative process,privilege, a'nd official

12   ,information privilege. Defendant further objects to this request on the 'groun'ds that it is

13    compdund coyld require multiple conflicting responses~ Defendant further objects to this

14    request on the Igrounds that it ~ssumes information beyond the knowledge of this
15    responding Defendant and seeks a legal conclusion. Defendant further objects to this

16    request 01) the grounds that it is overbroad, undwly burdensome, vague, and ambiguous

17    in that it fails to specify a specific period of time or specific location,and is therefore not

18    reasonably calculated to lead to the discovery of admissible evidence.
19           Subject to, and without waiving the above objections, Defendant responds to this

20    request as fdllows: Defendant denies that the exact same factual circumstances exist

21    today. Some circumstances have improved. Nonetheless, Defendant admits that

22    emergency conditions still exist, and the emergency proclamation has not been

23    terminated.
24    REQUEST FOR ADMISSION NO. 46:

25           Admit that the sUbstantial risk of violence in CDCR 'prisons caused by the severe

26    overcrowding in CDCR prisons that you cited in your October 4, 2006 overcrowding
27    proclamation is still present.

28    III
                                                          - 44-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
      SECOND SET OF REQUESTS FOR AID MISSIONS
Case 2:90-cv-00520-KJM-SCR                            Document 3434-4                      Filed 12/23/08   Page 14 of 24


 1" . 'RBSP0NSEi~Oc'RECttJ'ES'1)F:(l)R;ADM.ISSIQNNQ.46,:'
              •   "-- •.• ,   _.       -,. -"'s             ;--,   ,   "   -   -




 ,2. '            :6fi}fend~nt0Qje'Qts:t~,jl'lis,r~qUe$ton'th.egro.und~Jhatit se~k~inforrnation that is
 3       not reHevantto:any partY\sclaimord~fense,at'issuein
                              -.   "     .   .    . .        this proceeding. Defendant

 4       further objects tothis request on .the grou'nds that it is vague and ambiguous as to the

 5       terms "in OOeR prisons," ''''overcrowding proclamation" and "is still present." Defendant

 6       fl.lrther obje<?ts to this request onlhe ground~ that it seeks information protected from
                                                                                   "


 7       disclosure by th~attorney"client privilege,deliberaiive process privilege, and offici,al

 8       information privilege. Oef~ndpntfurtherobJeots to this request on the grounds that it is

 9' compound could requite multiple
                            .
                                    p(jrtflictin~
                                         ,
                                                  responses. Defendant further obJects to this

10       re,quest on the grounds that'it ass\lmesiliformation beypnd the knoWledge of this

11       responding DefEmdantandseek~ a le.gal conclusion. Defendant further objects to this

12       request on the grounds that it is oVerbrqad, unduly burdensome, vague, and ambiguous

13       in that it fails to specify a specific period of time or specific location, and is therefore not

14       reasonably calculated to lead to the discovery of admissible evidence.

15                 Subject to,. and without waiving the. above objections, Defendant responds to this.

16       request as follows: DefEmdant denies that the exact same factual circumstances exist

17       today. Some circumstances have improved. Nonetheless, Defendant admits that

18       emergency conditions still exist, and the emergency proclamation has not been

19       terminated.

20       REQUEST FOR,ADMISSION NO. 47:

21                 Admit that the substantial risk of transmission of infectious diseases in COCR

22       prisons caused by the severe overcrowding in CDCR prisons that you cited in your

23       October 4, 2006 overcrowding proclamation is still present.

24       RESPONSE TO REQUEST FOR ADMISSION NO. 47:

25                  Defendant objects to this request on the grounds that it seeks information that is

26       not relevant to any party's claim or defense at issue in this proceeding. Defendant

27       further objects to this request on the grounds that it is vague and ambiguous as to the

28       terms "in COeR prisons," ""overcrowding proclamation" and "is still present." Defendant
                                                                                   - 45-
         DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
         SECOND SET OF REQUESTS FOR ADMISSIONS
Case 2:90-cv-00520-KJM-SCR             Document 3434-4         Filed 12/23/08   Page 15 of 24


 1 .. furtm.er,()bj!;9cts to ·this request on the groundstMat it seeks information proteoted from
 2' . disolosure.bytne.attorney~6Iientprivilege., deliberativeprooess privilege, .aod official
 3    information privilege. Defendant further objects teD this requeston the grounds that it is

 4.   compound could require multiple conflicting responses. Defendant further objects to thJs

 5    request on the groul'lds tha~ itarsumes mformation beyond the knowledge of this
 6    responding Defendanfand seeks, slegalconclusion. Defendant further objects to this

 7    request-ontMe grounds that it is ov~rbroad, unduly burdensome, vague, and arrybiguous
 8    in thaUt fails to specify a specific period of time or specific location, and is therefore not

 g'   reasonably calculated tole.cid-to the discovery of admissible evidence.
10             Subjectto,and wit~outwaivingthe above objections, Defendant responds'to this
                                                           -
11    request. as follows: 'l5efemdant denies that the exact same factual circumstances exist

12    today. Some circumstances have 'improved. Nonetheless, Defendant admits that
13    emergency conqitions still exist, and the emergency proclamation has not been

14    terminated.
15    REQUEST FOR ADMISSION .NO. 48:

16             Admit that the substantIal security.risk in CDCR prisons caused by the severe

17    overcrowding in CDCR prisons that you cited in your October 4, 2006 overcrowding

18    proclamation is still present.
19    RESPONSE TO REQUEST FOR ADMISSION NO. 48:
          -'


20             Defendant objects to this request on the grounds that it seeks information that is

21    not relevant to any party's{~laim or defense·at issue in this proceeding. Defendant

22    further objects to this request on the.grounds that it is vague and ambiguous as to the

23    terms "in CDCR prisons," ""overcrowding proclamation" and "is still present." Defendant

24    further objects to this request on the grounds that it seeks information protected from

25    disclosure by the attorney.,.client privilege, deliberative process privilege, and official

26    information privilege. Defendant further objects to this request on the grounds that it

27    assumes information beyond the knowledge of this responding Defendant and seeks a
28    legal conclusion. Defendant further objects to this request on the grounds that it is
                                                   - 46-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
      SECOND SET OF REQUESTS FOR ADMISSIONS
Case 2:90-cv-00520-KJM-SCR              Document 3434-4        Filed 12/23/08   Page 16 of 24


 1    overb>road,undwlyburdensQme, vague; and,ambiguous in that itfails!to sp.eglfy a

 2'   specific perioa,ottirne orsp.e.cific·location, and is therefore not reasonably calculated to

 3    "'e-a9 tq'the discovery of admissible evidenoe.

 4                SubjecUo, and without waiving the above objections, Defendant responds to this

 5    requesra~fdllows: Defendantdenies that the exact same factual circumstanoes exist
                          r
 6    today. Some circumstances have improved. Nonetheless, Defendant admits that

 7    emerg~ncy conditions still exist, and the. emergency proolamation has not been

 8    tetlllil'lated.

 9    RE~IJ~ST FORADMISSION NO. 49:
           ",-"   .                          .


1o                Admitthc;U,theburdens
                      .
                                        on 'infrastructure
                                                   ~ .
                                                           (el,ectrical systems -and/or

11    ,wastewatet/sewersystems) caused by tlhe severe overcrowding in CQCR prisons that

12    you-cited in yourO.ctober 4, 2006 overcrowding proclamation are still present. '

13    'RESPONSE TOJlEQUEST .FOR ADMISSION:NO.49:
           '.                                        -
14           Defendant objects to this request on the grounds lthat it seeks' information that is

15    not relevantto any party's claimor defense at issue in this proceeding. Defendant

16    further objects to this request on the grounds that it is vague and ambiguous as to the

17    terms "in CDeR prisons," ''''overcrowding proclamation" and "is still present." Defendant

18    further objects to this request on the grounds that it seeks information protected from

19    disclosure by the attomey-client privilege, deliberative process privilege, and official

20     information privilege. Defendant further objects to this reCiluest on the grounds that it is

21    compound could require multiple conflicting responses. Defendant further objects to this

22    ,request on the grounds that it assumes information beyond the knowledge of this

23     responding Defendant and seeks a legal conclusion. Defendant further objects to this

24     request on the grounds that it is overbroad, unduly burdensome, vague, and ambiguous

25     in that it fails to specify a specific period of time or specific location, and is therefore not

26     reasonably calculated to lead to the discovery of admissible evidence.

27                Subject to, and without waiving the above objections, Defendant responds to this

28     request as follows: Defendant denies that the exact same factual circumstances exist
                                                       - 47-
       DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
       SECOND SET OF REQUESTS FOR ADMISSIONS
Case 2:90-cv-00520-KJM-SCR                   Document 3434-4    Filed 12/23/08   Page 17 of 24


 1 '.' today. Sqme c oirotilmstancesl1aveimprove,d. Nonetl1eless,Def~ndant admits that

(2 .' emergenQyconditiotl$:still exist,.andtn~emetgen~yproclarnatjon has not been

 3    terminated.
 4    REQUEST FOR ADMIS:SION NO,. 50:
 5           Admit that the effeots of overcrowding that you described in your October 4, 2006
                     ,....           .   .                        .     '



 6    overcrowding proclamation as harm to people and property, inmate unrest and

 7    misconduct, redLiGtion or elimination of programs, and increased reoidivism are still

 8    pr~sent.

 9    RESPONSE
           --,.
               TC)·REQtlES"~FOR ADMISS,IONNO.50:
                      ".     ,



10          'eefe-"dantobJegtsto this requ~st on the grounds that it seeks information that is
11    not relevant to any party's claim or defense at issue in this proceeding. Defendant

12    further objects to this request on the grounds that it is vague and ambiguous as to the

13    terms '.:in CDCRprisons," ""overcrowding proclamation" and "is still present." Defendant

14    further objects to this request on the grounds that it seeks information protected from
15    disclosure by ~heattorney-client privilege,-aeliberative process privilege, .and official
1.6   information privilege. Defendant further objects to this request on the groundsthat
                                 ~                                                     . it is

17    compound could require multiple conflicting responses. Defendant further objects to this

18    reql;lest on the grounds that it assumes information beyond the knowledge of this

19    responding Defendant and seeks a legal conclusion. Defendant further objects to this

20    request on the grounds that it is overbroad, unduly burdensome, vague, and ambiguous

21    in that it fails. to specify a specific period of time or specific location, and is therefore not

22    reasonably calculated to lead to the discovery of admissible evidence.

23            Subject to', and without waiving the above objections, Defendant responds to this

24    request as follows: Defendant denies that the exact same factual circumstances exist

25    today. Some circumstances have improved. Nonetheless, Defendant admits that
26    emergency conc;litions still exist, and the emergency proclamation has not been

27    terminated.

28    III
                                                        - 48-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
      SECOND SET OF REQUESTS FOR ADMISSIONS
Case 2:90-cv-00520-KJM-SCR             Document 3434-4      Filed 12/23/08       Page 18 of 24


 1 ' '··REQlJBSrr.;Fc)RAtJMISS·IOJ~JNO~
                          - ...
                          ""   ~
                                        S~I;:
 2Ad·rnitthat.tt1le·;t.i~·e.Qtno~-itraditi0nal bedsfof inmatehouScing that you cited in your
 3    October 4, 2006 overcrowding' proclamation has not been elim'inated from CDeR

 4    pri~ons.

 5   '. RESPONSE TO REQWEST FORADMISSION NO. 51':

 6           Defendantobj~cts lothis reque.st on the grounds that it seeks information that is
                           "




 7    not relevant to,:,anyp\arty's claim ordefense at issue in this proceeding. Defendant

 8   further objects to tnis reqlleston the grownds that it is vague and ambiguous as to the
                                   .          .

 9. terms "non-traditional beeJs" .anp "overcrowding proclamation/' Defendant further objects
10   to this request. on the grounds that it seeks information protected f~om disclosure by the

11    aftomey-clientprivilege, deliberative :pro'ces~ privilege, and official information privilege.
12' Defe(ldcmt further objects to ~his' reque$t on the grounds that it is compound could

13    require multiple conflicting responSes. Defendant further objects to this request on the
                                                        .                    ,

14    grounds that it assumes information beyond the knowledge of this responding Defendant
15    and seeks a legal conclusion. Defendant further objects to this request on the grounds

16    that it is overbroad, unduly burdensome, vague, and ambiguous in th~t it fai/sto specify

17    a specific period of time or specific location, and is therefore not reasonably calculated to

18    lead to the discovery of admissible evidence.

19           Subject to, and without waiving the above objections, Defendant responds to this
20    request as follows: Defendant admits upon information and belief that non-traditional

21    beds have not been eliminated from COeR facilities. However, the ability to transfer

22    approximately 5,000 inmates to out-of~state contract facilities has allowed CDCRto

23    reduce.the number of non-traditional beds.

24    REQUEST FOR ADMISSION NO. 52:

25           Admit that the severe overcrowding in COeR prisons that you cited in your

26    October 4, 2006 overcrowding proclamation is still causing reduced inmate participation

27    in academic, vocational, and rehabilitation programs.

28    11/
                                                   - 49-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
      SECOND SET OF REQUESTS FOR ADMISSIONS
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2              J)efemd'anl0:Qje~c~sto~this:Feq:u~s:tQn the:€Jr:ounqstlnat it seek~i.nforrn~tion that is

 3   not relevantto anYJ'),arty;scfaim or defense at issue inthis proceeding. Defendant

 4   further objects to this r:eqOeston the grounds that it is vague and ambiguous as to the'

 5   terms
      " ,
           "severe," "nqn.:traditipnal
                        .      .
                             :".,.,
                                       beds" and "overcrowding
                                      " ; - '               ",-
                                                                proclamation." Defendant
                                                                  .



 6   further objects to this. request on the grounds that it seeks information protected .from

 7 'disclosure by the attorney~c/ient privilege, deliberative process priviJege,and official

 8   information privilege.pefendantfurther objects to this request on the. grounds that it is

 9   compound could require multiple conflicting ~esponses. Defendant further objects to this

10   request on the grounds ,that it a~sumes information beyond the knowledge of this
       .   /


11    responding Defendant.and seeks a legal conclusion. Defendant further objects to this

12    reqUest on the grounds, that it is~oyerbroad, unduly burdensome, vague,and ambiguous

13    in that it fails to specify a specific period of time or specific location, and is theref9re not

14    r:easonably calculated to lead to the discovery of admissible evidence.

15             Subject to, and witl;tout waiving the above objections, Defendant responds to this

16    request as foHows: Defendant admits upon information and belief that overcrowding

17    conditions are causing continued reduced inmate participation in academic, vocational,

18    and rehabilitation programs.

19    REQUEST FOR ADMISSION NO. 53:

20             Admit that the document attached hereto as Exhibit D is a true and correct copy of

21    a transcript of your remarks on or about June 26, 2006, as posted on YOUR website at

22    http://gov.ca.gov/speech/1 0881, under the title "Schwarzenegger Calls Special Session

23    to Address Prison Crowding, Recidivism."

24    RESPONSE TO REQUEST FOR ADMISSION NO. 53:

25             Defendant objects to this request on the ground that it seeks information that is

26    not relevant to a claim or defense at issue in this proceeding. Defendant further objects

27    to this request on the grounds that 'it requires a response that is more properly sought

28    from parties or persons other than this responding Defendant.
                                                     - 50-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
      SECOND SET OF REQUESTS FOR ADMISSIONS
                                                              I
                                                          .   "
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                                                                        ~


 1 '.               ·S~ibJagt't~ianGfwvitn9utw~iivin~rthe :~pove 'ob.jeGtion.S,Defendantre~p()nds to this
 2 ". reque$t.~$J()UQW$:D.(3tetrdantadh1j!s.~polTljofQrmatiQnand'belief·thatl2xhibitDJsa
                         ,           .         .                  .


 3·       transcriptofrem?rksmaqeby therespondirl.gDefendant on oraboutJune 26,2006, .and

 4        . posted,at the indicated website address.
 5        .REQUEST -FOR ADMISSIGN
                -   .        ... -
                             "-,',
                                   NO. 54:    . : " .-"           ~   --~   .



 6.'                     Adl11iith~tthe.viq~Qfiled.named "Exhibit E.mpg" and starting with ~ title frame
 7        "Pri,SOJlOVercrOWCfif:rg/KGQ, Oh, 7/6:00 PM News/9/24/07/LENGTH 2:23" on the

 8        .att~che~ optiCal disk I~b.eled "PL TF20 SETRFA$ TO DEFENDA!-JT
           " .               , ,.... ,. . . .' . ' . ( ,                            ' . ,                         .


 9        SCHvVARz.'eNEGGER,ExhibitsE&
                   '.  .'
                        '",        ":,
                                       F 9/29l08"includes cOOllTlents made by YOU
                                                                  . , . " . . .

10•   r
          .,regardJ/1~CaUtbrniaprisonsstarting after the statement: "It could take years for the new
          :,"                _'   -;.-'   '        .      ''':                      .   .                    .•




1,1       facilitie~t6b~builti'
12"       RESP(jN$ETC>:'~E'QtJEsr'FORAO:M1SSIOiN NO. '54:
13d~;~Mdantobjeot$to this ~equest on,iheground that it seeks inforr:nation that is
14        not relevant to a cl.aim or defense at .issue in this proceeding. Defendant further objects
                                     I
                    -                I"

15        to this request on the grounds thatitrequires a response that is rnoreproperly sought

16        from parties or persons other than this responding Defendant. Defendant further objects

17        to this request on the 'grounds that it is vagye and ambiguous as to the terms ""starting

18        after the statement." Defendant further objects to this request on the grounds that it is

19        compound cou/drequire multiple conflicting responses.

20                           Subject to, and without waiving the above objections, Defendant responds to this

21        request as follow,s: Defendant admits upon information and belief that the video file titled

22        "Exhibit E.mpg" includes comments made by the Defendant regarding California prisons.

23             . . FOR ADMISSION
          REQUEST       .
                                 NO. 55:

24                       Admit that the video filed named "Exhibit F .mpg" on the attached optical disk

25        labeled "PL TF 2D SET RF AS TO DEFENDANT SCHW ARZENEGGER, Exhibits E & F

26        9/29/08" includes YOUR speech delivered at California Rehabilitation Center at Norco,

27        California, on or about March 6, 2007, as posted on YOUR website at

28        http://www.gov.ca.gov/speech/5568/.
                                                                                        - 51 -
          DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
          SECOND SET OF REQUESTS FOR ADMISSIONS
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 1 '. iRE:SP()NS:E'~1!O;RisQtJES;;r·FOR·i~D:MI,SS,10N.:NO,i5.5::
                  •. --.-,-'-""-"                      -- ">"':   .



 2' .             ·JPefendantQ~JeQt~,~(;).thfs:.r:eqtl~ston;th.e:gro.lJtldthat,it.se,eks. information t~at is
 3      notrelevantto a,;clcilm ordefens~ .at issueinthisproceedin~. Defendantfurther objects

 4      to this request on· tbe grounds that it requires a' response that is more properly sought
                                                                               /'

 5      frompartias or,persons·other than this responding Defendant. Defendant furtherobjects
              ,       I'                           .     ..               "




 6      to this request on the grounds thS't it is compound ceuld require multiple conflicting

 7      responses.

 8                 Subject to., and withQut wai;ving.theagove o.~jections, Defendan~ responds to this

 9,     request as fo.llows: Defendant admits upon information and beliefthat the video file titled

10      'IExhibit F.mpg" inctudesa speechdeJivered by Defendant at C~lifornia Rehabilitation

11      Center alNorco o.n orabou(M~rch
                              \,.
                             --~   _/
                                        6,.>
                                           2007,
                                              .
                                                 and is posted
                                                           .
                                                               at the indicated website

12      address.

13      REQUEST FOR ADMISSION. NO. ·56:

14                 Admitthat the doc!Jrhent-attached hereto as Exhibit G is a true and correct copy

15      of the text of your speech delivered at California Rehabilitation Center at Norco,

16      California, on or about March 6, 2007, qS posted on YOUR website at

17      http://www.gov.ca.gov/speech/5568J.

18      . RESPONSE TO REQUEST FOR ADMISSION NO. 56:

19                  Qefendant objects to this request on the ground that it seeks information that is .

20      not relevant to a claim or defense at issue in this procee~:Hng. Defendant further objects

21      to this request on the grounds that it requires a response that is more properly sought

22      from parties or persons other than this responding Defendant

23                  Subject to, and without waiving the above objections, Defendant responds to this

24      request as follows: Defendant admits upon information and belief that Exhibit G is a

25      transcript of remarks made by the responding Defendant on or about March 6, 2007, and

26      III
27      II/
28      III
                                                                      - 52-
        DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
        SECOND SET OF REQUESTS FOR ADMISSIONS
Case 2:90-cv-00520-KJM-SCR          Document 3434-4        Filed 12/23/08    Page 22 of 24


 1    is postedaUhe indicated website. address.

 2.
 3
 4

 5    DATED: October 20,2008                              HANSON BRIDGED LLP
 6
 7                                                   By: /ls//
                                                          -PAU,L·a.MELLO
 8                                                        Att(jrm:~y~ Jot. Defendants
                                                          ArnoldSchwari(;}t1egger, et al.
 9
      DATED: October 20,2008                              EDMUNDG.'BROWN JR.
10                                                        Att~rneyGeneral.'of tHe State of
                                                          California
11
12
                                                     By: //1$11
13                                                      K¥LELlzWIS
14                                                        D~puty Att()m~~G~neral
                                                          Attorneys for Defendants
                                                          Arnold $chwarzenegger, et ~1.
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28
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      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
      SECOND SET OF REQUESTS FOR ADMISSIONS
Case 2:90-cv-00520-KJM-SCR            Document 3434-4          Filed 12/23/08      Page 23 of 24


                        DECLARATION OF SERVICE BY U.S. MAIL

Case Name:     Three-Judge Panel Proceeding Pursuant to 28 U.S.C. § 2Z84
               Coleman, et al. v. Schwarzenegger, et al.
               USDC, Eastern District of California, Case No.2 :90-cv-00520 LKK JFM
               Plata, et al. v. Schwarzenegger, et al.
               USDC, Northern District of California, Case No. C-01-1351 TED

No.:    C 90-0520 LKKI COI-01351 TEH

I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar, at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service that same day in the ordinary course of business.

On October 20. 2008, I served the attached

RESPONSES TO PLAINTIFF COLEMAN'S SECOND SET OF REQUESTS FOR
ADMISSION TO DEFENDANT ARNOLD SCHWARZENEGGER;

by placing a true copy thereof enclosed in a sealed envelope with postage thereon fully prepaid,
in the internal mail collection system at the Office ofthe Attorney General at 455 Golden Gate
Avenue, Suite 11000, San Francisco, CA 94102-7004, addressed as follows:

KIMBERLY HALL BARLOW                                  LORI RIFKIN
Jones & Mayer                                         MICHAEL BIEN
3777 North Harbor Boulevard                           Rosen Bien & Galvan, LLP
Fullerton, CA 92835                                   315 Montgomery St., 10th Floor
                                                      San Francisco, CA 94104

ANN MILLER RAVEL
THERESA FUENTES                                       MARTIN H. DODD
Office of the County Counsel                          FUTTERMAN & DUPREE
County of Santa Clara                                 160 Sansome Street, 17TH Floor
70 West Hedding, East Wing, 9th Floor                 San Francisco, CA 94109
San Jose, CA 95110




                                                  1
Case 2:90-cv-00520-KJM-SCR            Document 3434-4         Filed 12/23/08      Page 24 of 24


ROD PACHECO                                           JOHN HAGAR
WILLIAM MITCHELL                                      LAW OFFICE OF JOHN HAGAR
Office ofthe District Attorney                        PMB 314
County Qf Riverside                                   1819 Polk Street
4075 Main Street, First Floor                         San Francisco, CA 94109
Riverside, CA 92501
                                                     GREGG ADAM
MICHAEL P. MURPHY                                    NATALIE LEONARD
CAROL L. WOODWARD                                    Carroll, Burdick, & McDonough, LLP
Hall of Justice and Records                          44 Montgomery Street, Suite 400
400 County Center, 6th Floor                         San Francisco, CA 94104
Redwood City, CA 94063
                                                      DENNIS BUNTING
STEVEN S. KAUFHOLD                                    ALANCQHEN
CHAD A. STEGEMAN                                      Office of CQunty Counsel
TERESA WANG                                           County of Solano
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580 California Street, 15th Floor                     Fairfield, CA 94533
San Francisco, CA 94102
                                                      DANIEL J. WALLACE
STEVEN WOODSIDE                                       KELLY D.UNCAN SCOTT
ANNEL.KECK                                            County of Santa Barbara
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PRISON LAW OFFICE                                     Office of the Attorney General
DONALD SPECTER                                        1300 I Street, Suite 125
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Berkeley, CA 94710-1916

PAUL B. MELLO, ESQ.
HANSON & BRIDGETT LLP
425 Market Street, 2,6 th Floor
San Francisco, CA 94105

I declare under penalty of peljury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on October 20, 2008, at San Francisco,
California.


               J. Baker
               Declarant
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